                                                                                Case 3:17-cv-06011-WHA Document 209 Filed 04/17/18 Page 1 of 1



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   THE PEOPLE OF THE STATE OF                                     No. C 17-06011 WHA
                                                                         11   CALIFORNIA,                                                    No. C 17-06012 WHA
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12
                                                                         13     v.                                                           NOTICE RE TIMELINE FOR
                                                                                                                                             AMICUS BRIEFS
                                                                         14   BP P.L.C., et al.,

                                                                         15                  Defendants.
                                                                                                                   /
                                                                         16
                                                                         17          Any amicus brief in support of dismissal must be filed on or before the April 19 deadline

                                                                         18   for defendants to file their motions to dismiss (so that plaintiffs have an opportunity to respond).

                                                                         19          Any amicus brief in support of plaintiffs must be filed on or before the May 3 deadline

                                                                         20   for plaintiffs to file their oppositions to the motions to dismiss (so that defendants have an

                                                                         21   opportunity to respond).

                                                                         22          This order does not apply to any amicus brief submitted by the United States.

                                                                         23
                                                                         24          IT IS SO ORDERED.

                                                                         25
                                                                         26   Dated: April 17, 2018.
                                                                                                                                    WILLIAM ALSUP
                                                                         27                                                         UNITED STATES DISTRICT JUDGE

                                                                         28
